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Attorney for Defendant Michael Lee Hardin
______________________________________________________________________________

                        IN THE UNITED STATES DISTRICT COURT

                                  DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA,                             SENTENCING MEMORANDUM

   Plaintiff,

  v.
                                                             Case No. 0090:21-CR-280
  MICHAEL LEE HARDIN,
                                                            Honorable Timothy J. Kelly
   Defendant.



       The Defendant, Michael Lee Hardin, by and through counsel of record, Scott C. Williams,

hereby submits the following Sentencing Memorandum in support of his position at sentencing.

       Mr. Hardin entered a plea of guilty to Count 4, Parading in a Capitol Building, a Class B

Misdemeanor in violation of 40 USC §5104(e)(2)(G). After accepting the plea, this Court

scheduled a sentencing to occur on April 11, 2022. This Court also ordered that parties to file any

sentencing memoranda simultaneously, by April 4, 2022. Given such a process, counsel for Mr.

Hardin will expect to rebut any positions taken by the Government which are deemed to be

mistaken, misled, or unfair, during sentencing argument.




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        The single count of conviction does not trigger application of the sentencing guidelines.

Thus, the present memorandum will be focused on general considerations at sentencing, and

application of factors pursuant to 18 U.S.C. § 3553(a). In light of such factors, and the application

of them to the particular circumstance of Mr. Hardin, counsel will ask this Court to impose a

sentence that does not include a requirement of incarceration. Despite the general nature and

circumstances of the offense, Mr. Hardin’s particular actions on January 6, 2021 fall into the lower

spectrum of comparable culpability and need for punishment, and this Court is possessed of

sufficient alternatives to confinement to impose a sentence sufficient but not greater than necessary

to meet the ends of justice without imposing a period of incarceration.1

                               POSITION ON SENTENCING FACTORS

        A sentence must be “sufficient, but not greater than necessary[.]” 18 U.S.C. § 3553(a). To

that end, the sentencing court “must make an individualized assessment based on the facts

presented.” Gall v. United States, 552 U.S. 38, 50 (2007). Ultimately, a court must “consider all of

the § 3553(a) factors,” to decide if “they support the sentence requested by a party.” Id. These are:

(1) the nature and circumstances of the offense and the history and characteristics of the defendant;

(2) the need for the sentence imposed; (3) the kinds of sentences available; and (4) the kinds of

sentence and sentencing range established by the guidelines. See 18 U.S.C. § 3553(a)(1)-(4)

(quotations omitted).

        The Nature and Circumstances of the Offense

        There may be no other criminal circumstance where more is known than in the present case.

The gut wrenching circumstances that unfolded on January 6, 2021 did so on live television, and


1
 As the parties have been ordered to file sentencing memoranda simultaneously, Mr. Hardin is not presently aware of
whether the Government will be recommending a sentence that includes any period of incarceration.


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have been replayed many times, in infinite detail. They are iterated in the course of the pleadings

and discovery in the present case, both in general, and with regard to Mr. Hardin’s particular

involvement. Virtually everything he did upon entering the Capitol was captured on video.

        The various offenses and circumstances of that day, which has led to thousands of

individuals being charged with crimes, included very serious offense conduct, against police and

other individuals, and against sacrosanct places and principles of our country.

        However, it is also indisputable that the circumstances of January 6 were encompassed

within a very broad spectrum of conduct, and by a wide variety of actors that also represent a very

broad spectrum of personal characteristics, and of other relevant conduct.

        Counsel for Mr. Hardin submits that the circumstances of Mr. Hardin’s conduct and offense

fall at the lowest level of these spectra.

        Mr. Hardin has his political perspectives and, at the times, perhaps even preoccupations.

Many people did. Many people do. But Mr. Hardin didn’t even necessarily go to Washington D.C.

to exhibit or protest them. He and his family discussed going to watch the speech and rally that had

been advertised by then President Trump and other public figures. Others of his family would have

liked to have gone, but his father in law had a sprained ankle, and his wife had taken too much time

off of work. Thus, ultimately only he and his mother in law, Janet Buhler,2 made the trip.

        The two flew into town on January 5, walked around, had some dinner, and went to bed.

They got up on the morning of the 6th and proceeded to the sight of the speech. On the way Mr.

Hardin purchased two Trump beanie caps, the blue one that he ultimately wore during the day, and


2
 Ms. Buhler was charged months after Mr. Hardin with the same offenses based on what was essentially identical
conduct—the two were side by side the entire day and the entire time they were inside the Capitol. She has entered a
plea of guilty to the same offense as Mr. Hardin, and faces sentencing on June 1, 2022, to be conducted via Zoom. Mr.
Hardin will not know what the Government will recommend by way of sentencing for Ms. Buhler, since the
Government sentencing memorandum is not due in that case until May 4, 2022.


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a pink one to take home to his wife, which can be seen tucked into his belt throughout the events.

They each had small backpacks, so rather than take them off in order to enter the formal grounds of

the rally, they watched from outside. They were moved by what they heard, particularly from

President Trump. Many were. And in fact, many did move, as encouraged, towards the capitol.

As they walked, they met various people, spoke with them about where they were from, and made

small talk. Mr. Hardin witnessed various forms of escalation—people apparently on the

scaffolding, people going up on the Capitol terrace. He saw some alarming individuals dressed in

tactical gear that were pushing through the crowd, but he did not see where they ultimately went or

what they ultimately did. Mr. Hardin doesn’t recall seeing any actual acts of violence. But as many

people began to move further onto the grounds of the Capitol, he and Ms. Buhler did too. They

ascended the steps to the Terrace, where they took pictures and video of the surging crowds, and

looked about.

       Continuing to be imbued with the herd mentality around them, the two approached the entry

to the Capitol at the Senate wing. Windows had been broken, and people we streaming into the

Capitol. The two entered through the doorway, followed people to the right, and so began their

trespass through various areas of the Capitol. Throughout their wandering the two took pictures

and video, often of the exhibits and information placards, staying out of and away from any actual

groups of people, and to the back of the rooms, observing. Sadly, such observations included their

witness to the forcible entry by rioters through the East Rotunda doors which were being manned

by Capitol Police officers. They ultimately found themselves upstairs near the doorways to the

balcony of the Senate chambers, where they can be seen entering to peer about and take some

photos. They continued to walk along with people until they were ultimately informed by police

officers of how and where to exit, and did so from the East entrance.


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       Mr. Hardin did not damage any property to gain entry into the Capitol. Nor did he damage

any property while inside, nor help or encourage any other person to damage any property. He did

not take any property. He did no violence to any person. He did not engage in chanting or protest.

Admittedly, and regrettably, he also did nothing to interfere with anything he saw, including the

forcible entry by others at the East Rotunda doors. He did not observe any other violence or

property destruction while inside the Capitol, nor after he and Ms. Buhler exited on the East side.

       Upon exiting, Mr. Hardin and Ms. Buhler walked back to their hotel. They took an Uber to

a hotel closer to the airport to make easier their travels back to Salt Lake City, and the next morning

they flew back home.

       Mr. Hardin does not participate much in social media, and none since early 2021. He took

pictures and video while at and in the Capitol, and texted with friends and family, which texts were

ultimately used by his daughter to alert the authorities to his presence and culpability. But he never

publicly glorified what he did on January 6, and he has accepted full responsibility for his utter

lapse of judgment. Despite the repeated and regularly recurring characterizations--by everyone

from officials of the Trump presidency to various United States legislators--of what people like he

did as akin to a tourist tour, Mr. Hardin is genuinely dismayed that he could be so disjointed from

his true character and history.

       Mr. Hardin’s History and Characteristics

       Mr, Hardin has lived a life that has been exemplary. (Character letters are attached hereto.)

He served his community as a police officer and homicide detective for 20 years. As with many

who perform this sometimes torturous occupation, it took a toll on his family relationship and

marriage, which ended bitterly. However, he has remarried, and has had a positive and productive

relationship with his wife and most of his family and extended family. He created a clientele of


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largely ex law enforcement personnel in the course of his financial advisor profession that he built

after his retirement from the police department. He has also been able to obtain a real estate

license.

       The reference to “has had” a positive and productive life is purposefully past tense: Mr.

Hardin’s spontaneous participation in the events of January 6, 2021, and his trespass in the Capitol,

have utterly upended his life and profession. It has fractured his family ties. His business has been

decimated due to his arrest and prosecution, and his association with the January 6 events. His

mental health has suffered. He prays often for a return to some kind of normalcy and acceptance of

society of his remorse and regret for having lost his judgment and succumbed to the herd mentality

that led to his involvement in the trespass against the United States Capitol—one of the symbols of

the very democracy and country that he cares fervently about.

       The events of January 6, 2021 cannot be separated from politics and deeply held political

beliefs, and the strong emotions that have been so inflamed by the political situation that had

reached a true conflagration by the time that then President Trump ignited immediately prior to the

siege on the Capitol. The delusions and lies that fueled the fire of that day were suffered and

expressed by individuals at the highest levels of government, public figures, and would be role

models. It has recently been discovered that such individuals even included Supreme Court Justice

Clarence Thomas’ wife Ginny Thomas. President Biden has repeatedly stated that Mr. Trump

bears “sole responsibility” for the siege that he incited.

       However, Mr. Hardin knows that is not the case. He knows that many, including himself,

bear responsibility for their actions. The power and heat of the flame of group incitement

ultimately resulted in the siege on the Capitol, and the herd mentality that caused so many like Mr.

Hardin, who would never be likely to break even minor laws, to completely lose their judgment,


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succumb to the herd mentality, and enter and trespass against their own Capitol. Mr. Hardin of

course desperately wishes he had never even made the trip with Ms. Buhler to Washington D.C.,

much less attended Mr. Trump’s speech, much less lost his judgment and trespassed against the

Capitol building. But he knows he is not now being punished for his political views, but for his

criminal actions. It is utterly despairing to him to find himself before a court for a criminal

sentencing, marring a life marked by a history and circumstances that would have never predicted

such a phenomenon.

       Factors discussed in Application Note 3 to U.S.S.G. §5K2.20 consider leniency for aberrant

behavior:

        In determining whether the court should depart under this policy statement, the court may
        consider the defendant’s (A) mental and emotional conditions; (B) employment record;
        record of prior good works; (D) motivation for committing the offense; and (E) efforts to
        mitigate the effects of the offense.

 Each of these factors support leniency in Mr. Hardin’s circumstance. Courts have also considered

 broader factors in light of the aberrant behavior, including:

        (1) degree of spontaneity; (2) amount of planning; (3) the singular nature of the criminal
        act; (4) the defendant's criminal record; (5) psychological disorders from which the
        defendant was suffering at the time of the offense; (6) extreme pressures under which the
        defendant was operating, including the pressure of losing his job; (7) letters from friends
        and family expressing shock at the defendant's behavior; (8) the defendant’s motivations
        for committing the crime; (9) the level of pecuniary gain the defendant derives from the
        offense; (10) the defendant’s charitable activities and prior good deeds; (11) his efforts to
        mitigate the effects of the crime; and (12) the defendant’s employment history and
        economic support of his family.

 Zecevic v. U.S. Parole Comm’n, 163 F.3d 731, 734-35 (2d Cir. 1998). To the extent that these

 various factors apply in the present case, all apply as mitigating factors in favor of leniency.

        In many circumstances present counsel would cite to the various studies and judicial

 surveys that support a variety of considerations related to personal characteristics and how they


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    relate to the likelihood of an offender to be rehabilitated and potential for recidivism. Such

    factors include positive family ties3, work history,4 and others. Also, empirical studies roundly

    impeach the notion that incarceration decreases the likelihood of recidivism.5 However,

    counsel respectfully submits that the present sentencing is not a circumstance where

    considerations of recidivism have much relevance. There is nothing about Mr. Hardin and his




           3
             Studies show that supportive family connections predict reduced recidivism, while
    breaking up families leads to increased recidivism. Kimberly Bahna, “It’s a Family Affair” –
    The Incarceration of the American Family: Confronting Legal and Social Issues, 28 U.S.F. L.
    Rev. 271, 285 (1994) (prisoners who have supportive families are less likely to recidivate);
    Shirley R. Klein et al., Inmate Family Functioning, 46 Int’l J. Offender Therapy & Comp.
    Criminology 95, 99-100 (2002) (“The relationship between family ties and lower recidivism has
    been consistent across study populations, different periods, and different methodological
    procedures.”). Additionally, in the Commission’s survey of judges, 62% said that family ties
    and responsibilities is “ordinarily relevant” to the consideration of a departure or variance.
    USSC, 2010 Survey of Judges, supra, at tbl. 13.
    4
      The Sentencing Commission’s own studies demonstrate that stable employment is associated
    with a lower risk of recidivism. See USSC, Measuring Recidivism: The Criminal History
    Computation of the Federal Sentencing Guidelines (2004), available at
    http://www.ussc.gov/publicat/Recidivism_General.pdf; USSC, Recidivism and the First
    Offender. Laudable employment history has been held to be an appropriate consideration for
    downward variance. See United States v. Munoz-Nava, 524 F.3d 1137, 1143 (10th Cir. 2008). In
    fiscal year 2009, employment record was cited as a reason for a sentence below the advisory
    guideline range in 652 cases, representing 5.5% of all cases in which the court imposed a
    sentence below the guideline range. USSC, 2009 Sourcebook of Federal Sentencing Statistics,
    tbls. 25, 25A, & 25B (2009). Of these, more than three-quarters involved only a variance under §
    3553(a). In the Commission’s recent survey of judges, 65% said that employment record is
    “ordinarily relevant” to the consideration of a departure or variance. USSC, Results of Survey of
    United States District Judges January 2010 through March 2010, tbl. 13 (2010), available at
    http://www.ussc.gov/Judge_Survey/2010/JudgeSurvey_201006.pdf.
5
  The National Institute of Justice, Department of Justice, issued a summary of the current state of
empirical research stating that “prison sentences are unlikely to deter future crime,” and “increasing
the severity of punishment does little to deter crime.” U.S. Dep’t of Justice, Office of Justice
Programs, Nat’l Inst. of Justice, Five Things to Know About Deterrence (July 2014) (relying on
Daniel S. Nagin, Deterrence in the Twenty-First Century, 42 Crime & Justice in America 199
(2013)), available at https://ncjrs.gov/pdffiles1/njj/247350.pdf.


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    circumstance that suggests any likelihood that he will ever be a risk to offend in any similar or

    other fashion. The present sentence is simply about punishment.

           Mr. Hardin has maintained perfect compliance with terms and conditions of his release.

           The Need For The Sentence, and the Kind of Sentence Available

           In consideration of the need for a particular sentence, this Court must consider the totality of

both the circumstances of the offense and the circumstances of the defendant, but also the interests

of society, though the sentence must be sufficient but not greater than needed to promote respect for

law and appropriate punishment. Relevant to such consideration is any need for deterrence,

protection of the public, and effective tools for rehabilitation of the defendant.

           A sentence that does not include incarceration is available in this case. The offense is a

misdemeanor, the misdemeanor of the century perhaps, but a misdemeanor nonetheless.6 It is fair

to say that generally misdemeanor offenses do not contemplate incarceration absent aggravating

factors such as significant criminal history, physical injury or serious property damage, lack of

remorse, etc.. This Court has ample options and resources that are available to impose a sentence

of probation with conditions that meet the interests of justice as to Mr. Hardin in his individual

circumstance.

           The United States Supreme Court as opined that even a non-custodial sentence can satisfy

the need for deterrence and justice:

            We recognize that custodial sentences are qualitatively more severe than probationary
            sentences of equivalent terms. Offenders on probation are nonetheless subject to several
            standard conditions that substantially restrict their liberty. See United States v. Knights,
            534 U.S. 112, 119, 122 S.Ct. 587, 151 L.Ed.2d 497 (2001) (“Inherent in the very nature of
            probation is that probationers ‘do not enjoy the absolute liberty to which every citizen is
            entitled’ ” (quoting Griffin v. Wisconsin, 483 U.S. 868, 874, 107 S.Ct. 3164, 97 L.Ed.2d
            709 (1987))).FN4 Probationers may not leave the judicial district, move, or change jobs

6
    Class B misdemeanors are defined as “petty offenses” at 18 USC §§19 and 3583(b)(3).


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        without notifying, and in some cases receiving permission from, their probation officer or
        the court. They must report regularly to their probation officer, permit unannounced visits
        to their homes, refrain from associating with any person convicted of a felony, and refrain
        from excessive drinking. USSG § 5B1.3. Most probationers are also subject to individual
        “special conditions” imposed by the court.
        FN4. See also Advisory Council of Judges of National Council on Crime and
        Delinquency, Guides for Sentencing 13–14 (1957) (“Probation is not granted out of a
        spirit of leniency .... As the Wickersham Commission said, probation is not merely
        ‘letting an offender off easily’ ”); 1 N. Cohen, The Law of Probation and Parole § 7:9
        (2d ed. 1999) (“[T]he probation or parole conditions imposed on an individual can
        have a significant impact on both that person and society .... Often these conditions
        comprehensively regulate significant facets of their day-to-day lives .... They may
        become subject to frequent searches by government officials, as well as to mandatory
        counseling sessions with a caseworker or psychotherapist”).

 Gall v. United States, 552 U.S. 38, 48-49 (2007).

       Mr. Hardin has also suffered very significant consequences due to his conduct on January 6.

His occupation and livelihood has been decimated, his reputation has been sullied. His family is

fractured. He is suffering, and will continue to suffer, the stigma of his actions. His entire family

was detained at an airport and missed their flights in the course of a vacation because Mr. Hardin

has unknowingly been placed on a no-fly list by TSA.

       Such circumstances also factor into considerations of deterrence and respect for the law.

There is no reason to believe that Mr. Hardin requires any particular sentence to be deterred from

further criminal conduct—there is no suggestion that he needs any such deterrence. But

considerations of general deterrence are relevant to criminal justice consequences as well. Inherent

in the holding and philosophy of Gall is the idea that consequences other than prison may be very

significant, and as such act as a general deterrent. It is hard to imagine any person who truly knew

about the impact that Mr. Hardin’s misdemeanor conduct on January 6 has had on him and his life

would not be deterred from committing similar conduct (assuming, of course, that anyone in the

particular state of mind and circumstance of that day would even be likely to be reflective and


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immune from the mentality of the moment). Some forms of consequence and punishment are

greater in significance than even incarceration.

       The elephant in the room of this sentencing is Mr. Hardin’s history as a police officer. This

history is double edged. The initial reaction may very well be to use it against him—to condemn

him as someone who should clearly have known better, and who should have been particularly

repelled by any acts of force against and/or disrespect for law enforcement. Such a reaction is

understandable, and Mr. Hardin would take no issue with it. The circumstances speak to the height

of the situational phenomenon that caused him to completely lose ties to his otherwise common

fidelity to his respect for his history and personal honor.

       But Mr. Hardin’s public service itself should not be held against him. He should be credited

for it. He served honorably and well as a police officer for 20 years, and has been an honorable and

productive member of our society. The present situational and aberrant circumstance should not

completely mar that history.

       Avoiding Unwarranted Sentencing Disparities

       It appears that other defendants charged and convicted of similar misdemeanors, and

sentenced under similar offense conduct and personal characteristics, have not received a

punishment of incarceration in connection with their probation. Counsel for Mr. Hardin has

surveyed some of the misdemeanor cases that have been sentenced:

**United States v. Anna Morgan-Lloyd, 21-cr-00164 (RCL) (Jun. 28, 2021) (sentenced to
probation);

**United States v. Danielle Doyle, 21-cr-00324 (TNM)(Oct. 1, 2021) (sentenced to probation even
though she entered through a broken window and yelled at police officers);

**United States v. Valerie Ehrke, 21-cr-00097 (PLF) (Sept. 17, 2021) (sentenced to probation);




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**United States v. Jessica Bustle and Joshua Bustle, 21-cr-00238 (TFH), ECF Nos. 42 & 44
(sentenced to supervised release with home confinement even though Ms. Bustle 1) posted on
social media that Mike Pence was a traitor, 2) denied media accounts of violence were accurate,
minimized the conduct of all of the rioters, 3) called for a revolution even after the events of
January 6, 4) encouraged the rioters to be proud of their actions, and 5) minimized the impact of
that day on lawmakers and democracy. See United States v. Jessica and Joshua Bustle, 21- 00238
(TFH). Judge Hogan imposed a probationary sentence with a short period of home confinement for
Ms. Bustle and an even shorter period of home confinement for Mr. Bustle. The government
recommended probation in this case.

**United States v. Andrew Bennett, Crim. No. 21-227 (JEB)(sentenced to three months home
confinement and two years probation). According to the government, who recommended probation
with a short term of home confinement, Mr. Bennett espoused conspiracy theories about the
election, was an admirer, albeit not a member of the Proud Boys, and boasted about his conduct.
According to the government, Mr. Bennett did not come to the rally in D.C. on a whim, but rather
planned it for months. He posted numerous times about conspiracy theories and a fraudulent
election. On January 4, 2021, he posted to his Facebook page, “You better be ready chaos is coming
and I will be in DC on 1/6/2021 fighting for my freedom!”. On January 6, according to the
government, Bennet began livestreaming video to his Facebook page from outside the Capitol as
early as 1:00 p.m. He was in the middle of the growing crowd on the West Front of the Capitol,
where some taunted police officers and sporadically threw objects at them. The government alleges
that someone near Bennett exhorted others to “move forward” and that Bennett yelled at a police
officer. Bennett also filmed assaults on the police officers and continued to livestream events inside
the building.

In a relatively recent sentencing, defendant Jenny Cudd was apparently sentenced to $5,000 in fines
and two months probation on a Class A misdemeanor, despite the government's request for 75 days
of jail and 60 days community service, despite facts that she wore a bulletproof sweatshirt,
advocated interruption of the electoral process, pushed law enforcement as she entered the Capitol,
and celebrated the property destruction and events in internet posts and media interviews after
January 6. Report regarding Jenny Cudd sentence


In another recent sentencing, defendant Jacob Wiedrich reportedly received a sentence of probation
with three months of home confinement and three years of probation. In his circumstance he
reportedly chanted “we ride for Trump, we die for Trump,” stated in a Snapchat video that “we
marched to the Capitol, broke a few windows,” and was found to have brought back to his home a
flag that he stole from the Capitol. https://www.ksl.com/article/50331076/utah-man-avoids-jail-
time-after-pleading-guilty-to-jan-6-capitol-riot-charge




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        Certainly there are counter-examples where courts have seen fit to impose some period of

jail in connection with misdemeanor sentences. However, it appears that such cases had significant

aggravating circumstances that distinguish them from the present case.

        Mr. Hardin respectfully submits that there is nothing materially different about Mr. Hardin’s

sentencing circumstance that would warrant a variation from similar treatment as defendants that

did not suffer incarceration as part of their misdemeanor sentences.

                                           CONCLUSION

         Even before the Sentencing Guidelines became advisory, the United Supreme Court

 reminded jurists that:

         It has been uniform and constant in the federal judicial tradition for the sentencing judge
         to consider every convicted person as an individual and every case as a unique study in
         human failings that sometimes mitigate, sometimes magnify, the crime and punishment.

 Koon v. United States, 518 U.S. 81, 113 (1996).

        A sentence without incarceration is available, and warranted in connection with the totality

of the circumstances in the present case. Mr. Hardin has no excuse for committing the serious

offense of entering and trespassing in the Capitol on January 6, 2021, especially under the

circumstances as they existed at the time he entered. As with so many other apparently normal and

otherwise peaceful members of our society, he had fully consumed the Kool-Aid, and moved with a

herd and with a herd mentality. He has paid dearly for it. He has lost virtually all that he had in the

way of occupation and employment. The direct financial cost has been significant. The cost on his

family, and in the form of stigma, had been significant, and will last well beyond any criminal

sanction that he suffers. All signs are that he will satisfy any conditions of any probation that this

Court may see fit to order, and thereafter work his way back into the respectable role that he had in

his society.


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RESPECTFULLY SUBMITTED this 4th day of April, 2022.



                                        /s/ Scott C. Williams
                                        Scott C. Williams
                                       Attorney for Defendant Michael Hardin




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                                   DELIVERY CERTIFICATE

        I certify that a true and correct copy of the foregoing was caused to be delivered to all

involved parties, by electronic filing, as well as email courtesy copy, on the 4th day of April,

2022.

                                                      /s/ Scott C. Williams
